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         Family Farm Alliance

                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA

                                                           )
         FAMILY FARM ALLIANCE,                             )
                                                           )   Case No.: 1:09-CV-1201-OWW-DLB
                               Plaintiff,                  )
                                                           )   STIPULATION AND ORDER
                        v.                                 )   EXTENDING TIME FOR
                                                           )   DEFENDANTS TO FILE THE
         KENNETH SALAZAR, as Secretary of the )                ADMINISTRATIVE RECORD
         United States Department of the Interior, et al., )
                                                           )
                               Defendants.                 )
                                                           )




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                On December 29, 2009, the Court entered an Order requiring the Defendants to file and
         serve the Administrative Record in this matter on or before January 15, 2010. See Order at 2
         (Docket No. 37). However, Defendants believe that an extension is necessary because logistical
         difficulties have made it infeasible for them to complete the Administrative Record by the
         current January 15, 2010 deadline, and they require an additional two weeks, to January 29,
         2010, to file the Administrative Record. Following the request by the Defendants, Plaintiff
         reluctantly agrees to Defendants’ requested extension, but does not agree to any further
         extensions beyond that date due to the urgent nature of this action. Defendants assert that this
         extension will not affect other deadlines set by the Court. The parties thus stipulate to a two
         week extension of time by which Defendants must file the Administrative Record, from January
         15, 2010 to January 29, 2010.
                                             Respectfully submitted this 15th day of January, 2010.
                                             IGNACIA S. MORENO, Assistant Attorney General
                                             United States Department of Justice
                                             Environment & Natural Resources Division
                                             JEAN E. WILLIAMS, Section Chief

                                                /s/ Ethan Carson Eddy
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                                             THE BRENDA DAVIS LAW GROUP

                                             By:     /s/ Brenda W. Davis
                                                   Brenda W. Davis

                                             Attorneys for Plaintiff
                                             FAMILY FARM ALLIANCE
         IT IS SO ORDERED.

         Dated: January 15, 2010                     /s/ OLIVER W. WANGER
                                                     United States Senior District Court Judge




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